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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


  ORALDENT LTD.,

  Plaintiff,                                                 Civil Action No.: 1:20-cv-00304

  v.                                                         Judge John F. Kness

  THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Gabriel A. Fuentes
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

  Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                403                                         Cest
                406                                        Imgirl
                407                                     Creatvalue



DATED: August 14, 2020                              Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    111 West Jackson Boulevard, Suite 1700
                                                    Chicago, Illinois 60604
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                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-00304 Document #: 88 Filed: 08/14/20 Page 2 of 2 PageID #:2720




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 14, 2020 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
